                       Case 1:07-cr-10264-DPW Document 136 Filed 09/04/09 Page 1 of 10


 ~AO 245B(05-MA)           (Rev. 06/05) Judgment in a Criminal Case
                            Sheet 1 - D. Massachusetts - 10/05



                                         UNITED STATES DISTRICT COURT
                                                            District of Massachusetts

           UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              V.
                   RICARDO ROSA                                            Case Number: 1: 07 CR 10264                       - 002 - DPW
                                                                           USM Number: 5993-054
                                                                            John M. Goggins
                                                                           Defendant's Attorney
                                                                                                                     o    Additional documents attached


o
THE DEFENDANT:
o pleaded guilty to count(s) 1 of the Indictment on 11125108
o pleaded nolo contendere to count(s)
    which was accepted by the court.
o   was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:                                               Additional Counts - See continuation page   0
 Title & Section                   Nature of Offense                                                            Offense Ended
21 USC § 846                 Conspiracy to Possess With Intent to Distribute and Distribute Cocaine               05107/07




        The defendant is sentenced as provided in pages 2 through                 IQ           of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
o   The defendant has been found not guilty on count(s)

o   Count(s)                                               0 is 0 are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
 the defenoant must notify the court and United States attorney of material changes in economIc circumstances.

                                                                             09/04/09




                                                                             The Honorable Douglas P. Woodlock
                                                                             Judge, U.S. District Court
                                                                           Name and Title of Judge

                                                                            58tic b-f / f 2Dl/j
                                                                                       f\I'-
                                                                           Date
                     Case 1:07-cr-10264-DPW Document 136 Filed 09/04/09 Page 2 of 10


'Q,AO 245B(05-MA)     (Rev 06/05) Judgment in a Criminal Case
                      Sheet 2 - D. Massachusetts - 10/05


                                                                                                        Judgment -   Page _-=20..- of   10
DEFENDANT: RICARDO ROSA
CASE NUMBER: 1: 07 CR 10264 - 002 - DPW

                                                                IMPRISONlVIENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tenn of:          72       month(s)
  DEFENDANT SHALL RECEIVE CREDIT FOR TIME SERVED


  [{] The court makes the following recommendations to the Bureau of Prisons:

   DEFENDANT SHOULD PARTICIPATE IN THE 500 HOUR COMPREHENSIVE DRUG TREATMENT
   PROGRAM.

  [{] The defendant is remanded to the custody of the United States Marshal.

  o    The defendant shall surrender to the United States Marshal for this district:
        Oat                                       0     a.m.     0 p.m.       on
        o    as notified by the United States Marshal.

  o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        o    before 2 p.m. on

        o    as notified by the United States Marshal.

        o    as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                              to

a~                                                    , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
                     Case 1:07-cr-10264-DPW Document 136 Filed 09/04/09 Page 3 of 10


~AO 245B(05-MA)        (Rev 06/05) Judgment in a Criminal Casc
                      Sheet 3 - D. Massachusetts - 10/05


                                                                                                   Judgment-Page                     of       10
DEFENDANT:   RICARDO ROSA                                                        D
CASE NUMBER: 1: 07 CR 10264 - 002 - DPW
                                                         SUPERVISED RELEASE                                             [ZJ See continuation page
Upon release from imprisonment, the defendant shall be on supervised release for a term of:                  3 year(s)



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, not to exceed 104 tests per year, as directed by the probation officer.
o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
[ZJ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
[ZJ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
D student, as directed by the probation officer. (Check, if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sneet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any I'ersons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
 10)    the defendant shalll'ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observea in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permiSSIOn of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant s compliance with such notification requirement.
                  Case 1:07-cr-10264-DPW Document 136 Filed 09/04/09 Page 4 of 10

~AO 245B(05-MA)   (Rev. 06/05) Judgment in a Criminal Case
                  Sheet 4A - Continuation Page - Supervised Release/Probation -10/05

                                                                                       ludgment--Page ---L- of _..:.:;10:-.-_
DEFENDANT:   RICARDO ROSA
CASE NUMBER: 1: 07 CR 10264 - 002 - DPW

                       ADDITIONAL[{] SUPERVISED RELEASED PROBATION TERMS




                       Continuation of Conditions of [{] Supervised Release 0 Probation

      DEFENDANT IS TO PARTICIPATE IN A PROGRAM FOR SUBSTANCE ABUSE AS DIRECTED BY
      THE US PROBATION OFFICE, WHICH PROGRAM MAY INCLUDE TESTING, NOT TO EXCEED 104
      DRUG TESTS PER YEAR, TO DETERMINE WHETHER THE DEFENDANT HAS REVERTED TO THE
      USE OF ALCOHOL OR DRUGS. THE DEFENDANT SHALL BE REQUIRED TO CONTRIBUTE TO
      THE COSTS OF SERVICES FOR SUCH TREATMENT BASED ON THE ABILITY TO PAY OR
      AVAILABILITY OF THIRD PARTY PAYMENT.

      IF ORDERED DEPORTED, THE DEFENDANT IS TO LEAVE THE UNITED STATE AND IS NOT TO
      RETURN WITHOUT PRIOR PERMISSION OF THE SECRETARY OF THE DEPARTMENT OF
      HOMELAND SECURITY.

      DEFENDANT SHALL USE HIS TRUE NAME AND IS PROHIBITED FROM THE USE OF ANY
      ALIASES, FALSE DATES OF BIRTH, FALSE SOCIAL SECURITY NUMBERS, INCORRECT PLACES
      OF BIRTH, AND ANY OTHER PERTINENT INCORRECT IDENTIFYING INFORMATION.
                      Case 1:07-cr-10264-DPW Document 136 Filed 09/04/09 Page 5 of 10

~AO 245B(05-MA)       (Rev. 06/05) Judgment in a Criminal Case
                      Sheet 5 - D. Massachusetts - 10105

                                                                                                        Judgment -      Page             of      10
DEFENDANT:   RICARDO ROSA
CASE NUMBER: 1: 07 CR 10264 - 002 - DPW
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                                                                     Restitution
TOTALS            $                $100.00                               $                                     $



o    The determination of restitution is deferred until
     after such determination.
                                                                         . An Amended Judgment in a Criminal Case (AD 245C) will be entered


o    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36640), all nonfederal victims must be paid
     before the United States is paId.

Name of Payee                                 Total LQss*                          Restitution Ordered                         Priority or Percentage




                                                                                                                                   o   See Continuation
                                                                                                                                       Page
TOTALS                              $                            $0.00         $                   ...;;.$O~.~OO:_




o     Restitution amount ordered pursuant to plea agreement $


o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

D The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     o the interest requirement is waived for the o fine 0 restitution.
     o the interest requirement for the           0 fine o restitution is modified as follows:

* Findings for the total amount oflosses are required under Chapters 109A, 110, I lOA, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                     Case 1:07-cr-10264-DPW Document 136 Filed 09/04/09 Page 6 of 10


'%AO 245B(05-MA)      (Rev 06/05) Judgment in a Criminal Case
                      Sheet 6 - D. Massachusett~ - 10105
                                                                                                     Judgment -    Page         6   of _ _1_0_ _
DEFENDANT:   RICARDO ROSA
CASE NUMBER: 1: 07 CR 10264 - 002 - DPW

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    0 Lump sum payment of $                                    due immediately, balance due

           o     not later than                                    , or
           o in accordance             0     C,    0 D,0 E, or 0 F below; or
B o        Payment to begin immediately (may be combined with 0 C,  0 D, or 0 F below); or
c o        Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D o        Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $
                         (e.g., months or years), to commence
                                                                                                                         over a period of
                                                                              (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

           Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:

     DEFENDANT SHALL PAY THE SPECIAL ASSESSMENT OF $100.00, IMMEDIATELY OR
     ACCORDING TO A PAYMENT PLAN ESTABLISHED BY THE COURT IN CONSULTATION WITH
     THE PROBATION OFFICER, IF NOT PAID IN FULL BEFORE RELEASE FROM PRISON THROUGH A
     BUREAU OF PRISONS FINANCIAL RESPONSIBILITY PROGRAM.

Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment,payment ofcriminal moneta!)' penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made througfi the Federal Bureau of PrISons' Inmate Financial
Responsibility Program, are made to the clerk ofthe court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 o   Joint and Several
                                                                                                                               o     See Continuation
                                                                                                                                     Page
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




 DThe defendant shall pay the cost of prosecution.

 D The defendant shall pay the following court cost(s):
 DThe defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                         Case 1:07-cr-10264-DPW Document 136 Filed 09/04/09 Page 7 of 10
AO 245B   (Rev. 06/05) Criminal Judgment
          Attachment (Page 1) - Statement of Reasons - D. Massachusetts - 10/05

                                                                                                                            Judgment ­       Page     7   of      10
DEFENDANT:   RICARDO ROSA                                                                    a
CASE NUMBER: 1: 07 CR 10264 - 002 - DPW
DISTRICT:     MASSACHUSETTS
                                                            STATEMENT OF REASONS

      COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

      A   ~       The court adopts the presentence investigation report without change.

      BOThe court adopts the presentence investigation report with the following changes.
                  (Check all that apply and specifY court determination. findings, or comments. referencing paragraph numbers in the presentence report, if applicable.)
                  (Use Section VlII if necessary.)

                  o Chapter Two of the lJ.S.S.G. Manual determinations by court (including changes to base offense level, or
                       speci tic offense characteristics)



          2       0    Chapter Three of the V.S.S.G. Manual determinations by court (including changes to victim-related adjustments,
                       role in the offense, obstruction of justice, multiple counts, or acceptance of responsibility):



          3       0    Chapter Four uf the ll's.S.G. Manual determinations by court (including changes to criminal history category or
                       scores, career offender, or criminal livelihood determinations):



          4       0    Additional Comments or Findings (including comments or factual findings concerning certain information in the
                       presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
                       or programming decisions):



      C 0         The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

      A 0         No count of conviction carries a mandatory minimum sentence.

      B 0         Mandatory minimum sentence imposed.

      C ~         One or more counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
                  sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum
                  does not apply based on

                  o tin dings of fact in this case
                  o substantial assistance (18 U.S.c. § 3553(e))
                 III the statutory safety valve (18 U.S.c. § 3553(f))


III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):
                                  29
      Total Offense Level:
      Criminal History Category:
      Imprisonment Range:      87        to 108      months
      Supervised Release Range: 3              to 5          years
      Fine Range: $ J 5.000          to $ 4.000.000
      ~ Fine waived or below the guideline range because of inability to pay.
                              Case 1:07-cr-10264-DPW Document 136 Filed 09/04/09 Page 8 of 10

AD 245B (05-MA) (Rev. 06/05) Criminal Judgment
                Attachment (Page 2) - Statement of Reasons - D. Massachusetts - 10105

                                                                                                                                Judgment - Page          8    of       10
DEFENDANT:   RICARDO ROSA
CASE NUMBER: 1: 07 CR 10264 - 002 - DPW
DISTRICT:                       MASSACHUSETTS
                                                               STATEMENT OF REASONS
IV    ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)

      A 0                 The sentence is within an advisory guideline range that is not greater than 24 months, and the court finds no reason to depart

      B         0         The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.
                          (Use Section VIII if necessary.)



      C 0                 The court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.
                          (Also complete Section V.)

      DJlI                The conrt imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VL)


V      DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (If applicable.)
       A The sentence imposed departs (Check only one.):
                o
             below the advisory guideline range
                o
             above the advisory guideline range

      B         Departure based on (Check all that apply.):
                               Plea Agreement (Check all that apply and check reason(s) below.):
                               o    5K 1.1 plea agreement based on the defendant's substantial assistance
                               o    5K3.1 plea agreement based on Early Disposition or "Fast-track" Program
                               o    binding plea agreement for departure accepted by the court
                               o    plea agreement for departure, which the court finds to be reasonable
                               o    plea agreement that states that the government will not oppose a defense departure motion.
             2                 Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                               o   5K1.l government motion based on the defendant's substantial assistance
                               o   5K3.1 government motion based on Early Disposition or "Fast-track" program
                               o   government motion for departure
                               o   defense motion for departure to which the government did not object
                               o   defense motion for departure to which the government objected
             3                 Other
                               0 Other than a plea agreement or motion by the parties for departure (Check reason(s) below.):
       C         Reason(s) for Departure (Check all that apply other than 5K 1.1 or 5K3.1.)

0    4Al.3          Criminal History Inadequacy                0    5K2.l     Death                                   0     5K2.11   Lesser Harm
0    5HU            Age                                        0    5K2.2     Physical Injury                         0     5K2.12   Coercion and Duress
0    5HU            EducatIOn and Vocational Skllls            0    5K2.3     Extreme Psychological Injury            0     5K2.I3   Diminished Capacity
0    5HU            Mental and Emotional Condition             0    5K2.4     Abduction or Unlawful Restraint         0     5K2.14   Public Welfare
0    5H1.4          Physical Condition                         0    5K25     Property Damage or Loss                  0     5K2.16   Voluntary Disclosure of Offense
0    5HU            Employment Record                          0    5K26     Weapon or Dangerous Weapon               0     5K2.l7 High-Capacity, Semiautomatic Weapon
0    5H1.6          Family Ties and Responsibilities           0    5K2.7    Disruption of Government Function        0     5K2.1g Violent Street Gang
0    51! 1.11       Military Record, Charitable Service,       0    5K2.8    Extreme Conduct                          0    5K2.20 Aberrant Behavior
                    Good Works
                                                               0    5K29  Criminal Purpose                            0    5K2.21 Dismissed and Uncharged Conduct
0    5K2.0          Aggravating or Mitigating Circumstances    0    5K21O Victim's Conduct                            0    5K222 Age or Health of Sex Offenders
                                                                                                                      0    5K2.23 Discharged Temns of Imprisonment
                                                                                                                      0    Other guideline basis (e.g., 2B I I commentary)

      D          Explain the facts justifying the departure. (Use Section VIII if necessary.)
                         Case 1:07-cr-10264-DPW Document 136 Filed 09/04/09 Page 9 of 10
AO 24513 (05-MA)   (Rev. 06/05) Criminal Judgment
                   Attachment (Page 3) - Statement of Reasons - D. Massachusetts 10/05

                                                                                                                          Judgment -         Page    9   of       10
DEFENDANT:   RICARDO ROSA
CASE NUMBER: 1: 07 CR 10264 - 002 - DPW
DISTRICT:     MASSACHUSETTS
                                                          STATEMENT OF REASONS
VI    COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
      (Check all that apply.)
      A    The sentence imposed is (Check only one.):
          ~ below the advisory guideline range
            D above the advisory guideline range
      B    Sentence imposed pursuant to (Check all that apply.):
                        Plea Agreement (Check all that apply and check reason(s) below.):
                        D      binding plea agreement for a sentence outside the advisory guideline system accepted by the court
                        o      plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonable
                        o      plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the advisory guideline
                               system

           2            Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
                        o      government motion for a sentence outside of the advisory guideline system
                        D      defense motion for a sentence outside of the advisory guideline system to which the government did not object
                        o      defense motion for a sentence outside ofthe advisory guideline system to which the government objected

           3            Other
                        \lI    Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (Check reason(s) below.):

      C    Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

           ~ the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.SC § 3553(a)(J)
           ~ to retlectthe seriousness ofthe offense, to promote respect for the law, and to provide just punishment for the offense (18 U.S.C § 3553(a)(2)(A))
            o to afford adequate deterrence to crimmal conduct (18 USC § 3553(a)(2)(B)
            o to protect the public from further crimes of the defendant (18 U.S.C § 3553(a)(2)(C))
            o to provide the defendant with needed educational or vocationallraining, medical care. or other correctional treatment in the most effective manner
                (18 US.C § 3553(a)(2)(0»)
           ~ to avoid unwarranted sentencing disparities among defcndants (18 US.C § 3553(a)(6)
            D to provide restitution to any Victims of the offense (18 USC § 3553(a)(7))

      D     Explain the facts justifying a sentence outside the adVisory guideline system. (UseSection VIII if necessary.)

            A guideline sentence would result in an unreasonable severe sentence disproportionate to the defendant's relative culpability
            particularly where the defendant's candor in his safety valve proffer gave such culpability an inflated appearance when
            compared with that of his conspirators. Moreover, an unduly extended sentence for a defendant certain to be deported
            would impose an unwarranted cost to the taxpayers.
                    Case 1:07-cr-10264-DPW Document 136 Filed 09/04/09 Page 10 of 10
AO 245B (05-MA) (Rev. 06/05) Criminal Judgment
                Attachment (Page 4) - Statement of Reasons - D. Massachusetts - 10/05

                          RICARDO ROSA                                                                                      Judgment -       Page 10 of              10
 DEFENDANT:
 CASE NUMBER: 1: 07 CR 10264 - 002 - DPW
 DISTRICT:     MASSACHUSETTS

                                                           STATEMENT OF REASONS

 VII   COURT DETERMINATIONS OF RESTITUTION

        A    ill    Restitution Not Applicable.

        B     Total Amount of Restitution:

        C     Restitution not ordered (Check only one.):

                    D For offenses for which restitution is otherwise mandatory under 18 U.S.c. § 3663A, restitution is not ordered because the number of
                         identifiable victims is so large as to make restitution impracticable under 18 US.c. § 3663A(c)(3)(A).

              2     D For offenses for which restitution is otherwise mandatory under 18 U.S.c. § 3663A, restitution is not ordered because determining complex
                         issues of fact and relating them to the cause or amount of the victims' losses would complicate or prolong the sentencing process to a degree
                         that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.c. § 3663A(c)(3)(B)

              3     D    For other offenses for which restitution is authorized under 18 U.Sc. § 3663 and/or required by the sentencing guidelines, restitution is not
                         ordered because the complication and prolongation of the sentencing process resulting from the fashioning of a restitution order outweigh
                         the need to provide restitution to any victims under 18 US.c. § 3663(a)(I )(B)(ii).

              4     D    Restitution is not ordered for other reasons. (Explain.)




        D     D     Partial restitution is ordered for these reasons (18 U.S.c. § 3553(c)):




 VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)




                      Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony cases.

 Defendant's Soc. Sec. No.:

Defendant's Date of Birth:
                                   XXX-XX-XXXX

                                   xxlxxl1969                                                                           1
                                                                                                       Date ofImposition of Judgment
                                                                                                        °t/04/09

Defendant's Residence Address:          Lawrence, MA                                                  Signature of Judge
                                                                                                 The Honorable Douglas P. Woodlock              Judge, U.S. District Court
Defendant's Mailing Address:                                                                          Name ~nd Tit~,of}\IMF _ >/ ?/fhC,
                                        UNK
                                                                                                      Date Signed .Jet!t~/:#.R' 7) £..Vv /
